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 7
     Attorneys for Defendant
 8   RAMESH “SUNNY” BALWANI

 9
10                                UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION
13

14
     UNITED STATES OF AMERICA,                   Case No. 5:18-cr-00258-EJD
15
                     Plaintiff,                  STIPULATION AND [PROPOSED]
16                                               ORDER RE: TRIAL CONTINUANCE
           v.
17                                               Hon. Edward J. Davila
     RAMESH “SUNNY” BALWANI,
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                     Defendant.
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                                                                    STIPULATION AND [PROPOSED] ORDER
                                                                               RE: TRIAL CONTINUANCE
                                                                           CASE NO. 5:18-CR-00258-EJD
      Case 5:18-cr-00258-EJD Document 1491 Filed 06/13/22 Page 2 of 3



 1          The parties hereby stipulate and agree that the jury trial in this matter should be continued

 2   to Tuesday, June 21, 2022, at 9:00 a.m.

 3

 4          IT IS SO STIPULATED.

 5

 6   DATED: June 13, 2022                                Respectfully submitted,

 7                                                       ORRICK, HERRINGTON & SUTCLIFFE LLP
 8

 9                                                       /s/ Jeffrey B. Coopersmith
10                                                       JEFFREY B. COOPERSMITH
                                                         Attorney for Defendant
11                                                       RAMESH “SUNNY” BALWANI

12

13
     DATED: June 13, 2022                                Respectfully submitted,
14
                                                         STEPHANIE M. HINDS
15                                                       United States Attorney

16                                                       /s/ Jeffrey Schenk
                                                         ROBERT S. LEACH
17                                                       JEFF SCHENK
                                                         JOHN C. BOSTIC
18                                                       KELLY VOLKAR
                                                         Assistant United States Attorneys
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                                                                             STIPULATION AND [PROPOSED] ORDER
                                                     1                                  RE: TRIAL CONTINUANCE
                                                                                    CASE NO. 5:18-CR-00258-EJD
      Case 5:18-cr-00258-EJD Document 1491 Filed 06/13/22 Page 3 of 3



 1
                                      [PROPOSED] ORDER
 2
           Pursuant to the parties’ stipulation, IT IS SO ORDERED.
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 4
                  13 2022
     Dated: June ___,
 5                                                        EDWARD J. DAVILA
                                                    UNITED STATES DISTRICT JUDGE
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                                                                     STIPULATION AND [PROPOSED] ORDER
                                                2                               RE: TRIAL CONTINUANCE
                                                                            CASE NO. 5:18-CR-00258-EJD
